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                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

UNITED STATES OF AMERICA
           V.                            CaseNo. 4:17-CR-09-01-HLM
THOMAS HALLMAN, JR.

                                 ORDER
      AMENDING T H E JUDGMENT AND COMMITMENT
     It appearing to the Court through an inadvertence, the judgement
and commitment in the above referenced case omitted a condition of
supervised release; therefore, it is
     ORDERED AND ADJUDGED that the judgment and
commitment order be amended to read as follows:
      .Sppnial Condition of Supervised Release Number 11:
      The Court directs as a part of supervised release, the
defendant may reside in the residence with his daughters, MJH
and LMH. While on supervised release, the defendant may
reside in the residence with his children as just now directed
subject to modification by the Court upon an appropriate motion
by the United States Probation Officer supervising the defendant
in this case.
    Case
      Case
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           The original Judgment in all other respects shall remam m
full force and effect. Further, the Clerk is directed to deliver a certified
copy of this Order to the appropriate parties.


      SO ORDERED, this the              day of September 2017.




                       HARO        L MURPHY
                       SENT       UNITED STATES DISTRICT JUDGE
